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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

MOSTAFA ASSI,

        PLAINTIFF,                                        CASE NO. 1:20-CV-674
                                                          HON.

V.

MICHIGAN STATE UNIVERSITY,
THE BOARD OF TRUSTEES OF MICHIGAN
STATE UNIVERSITY, ANDREA AMALFITANO,
ELIZABETH PETSCHE, JACOB ROWAN,
SUSAN ENRIGHT, AND BRUCE WOLF,
JOINTLY AND SEVERALLY,

      Defendants.
___________________________________________________
AHMAD A. CHEHAB (P75560)
Attorney for Plaintiff
31440 Northwestern Hwy., Suite 110
Farmington Hills, MI 48334
Ph: 313.335.1539
E-mail: achehab@collinsblaha.com
___________________________________________________

              PLAINTIFF’S COMPLAINT AND JURY DEMAND

        NOW COMES Mostafa Assi, Plaintiff in this action, by and through his

attorney, Ahmad A. Chehab, and for his Complaint against the above-named

Defendants, states as follows:

                        A. JURISDICTION AND VENUE

       1. This is an action for damages and other relief arising under the United
States Constitution and the laws of the United States.



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       2. The Court has subject-matter jurisdiction under 42 U.S.C. 1983 and the
14th Amendment (the Due Process Clause) of the United States Constitution
because 28 U.S.C. § 1331 gives district courts jurisdiction over all civil actions
arising under the Constitution, laws, and treaties of the United States.

       3. Venue is proper in the United States District Court for the Western
District of Michigan, pursuant to 28 U.S.C. § 1391(b)(2), in that this is the judicial
district in which the events giving rise to the claim occurred.

                                   B. PARTIES

      4. The Plaintiff is a former student in the Michigan State University School
of Osteopathic Medicine, who resides at 22186 Beech Street, Dearborn, Michigan
48124.

       5. Defendant Michigan State University (hereinafter, “Defendant MSU”)
was at all relevant times and continues to be a public university organized and
existing under the laws of the state of Michigan. Defendant The Board of Trustees
of Michigan State University (hereinafter, “Defendant MSU Trustees”) is the
governing body for Michigan State University. It operates a number of affiliated
colleges, including the College of Osteopathic Medicine (hereinafter
“MSUCOM”).

     6. At all relevant times, Defendant Andrea Amalfitano was the Dean of the
Defendant’s College of Osteopathic Medicine.

      7. At all relevant times, Defendant Elizabeth Petsche was course director of
MSUCOM's pre-clerkship curriculum and served on the Dean’s Executive Staff,
although she is not presently so employed.

    8. At all relevant times, Defendant Jacob Rowan was Chair of the
MSUCOM - COSE.

      9. At all relevant times, Defendant Susan Enright was the MSUCOM
Clerkship Director.

      10. At all relevant times, Defendant Bruce Wolf was the MSUCOM MSSR
College Hearing Committee Chair.

      11. At all relevant times, the individual defendants mentioned, acting
individually and collectively, were agents of Defendant MSU and were acting
under color of state law to the extent that their acts were beyond the bounds of
lawful authority, while purportedly done in furtherance of their official duties.
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     12. Defendants' actions as described herein were taken in accordance with
MSU's custom, policy, and/or practice.

       13. Defendants' conduct under color of state law proximately caused the
deprivation of Plaintiff's federally protected rights and his resulting grievous
injuries. Defendants' conduct was done willfully, wantonly, and with reckless
disregard of Plaintiff's rights, interests, and feelings.

                          C. FACTUAL ALLEGATIONS

       14. In the Spring of 2014, Mr. Assi was admitted to the MSUCOM, with a
commencement in May 2014, and graduation scheduled for Spring, 2018.
Accordingly, the Plaintiff was admitted to the MSUCOM as part of the Class of
2018 and was issued a copy/had previously obtained a copy of the institution's
official "Policy."

      15. Upon his admission to the MSUCOM, the Plaintiff was provided the
MSUCOM’s written booklet, which contained the so-called "Policy for Retention,
Promotion, and Graduation," which was specifically denoted as being for the Class
of 2018 (hereinafter, "Class of 2018 Policy"), of which Plaintiff Assi was a
member. This document was detailed, extensively reticulated, and authoritative as
to the obligations, duties, and procedures that fully defined the expectations of
MSUCOM and its students.

       16. During his initial two years as a student, the Plaintiff passed all his
classes as well as the simulated exam given to students at MSUCOM to better
prepare them to take the Biomedical/Biochemical and Humanistic Domain
examinations. During the spring semester, 2018, Mr. Assi was a fourth-year,
second and final semester medical student on the cusp of graduation. A
requirement for graduation is the successful passing of the COMLEX Level 2-PE
(hereinafter, “COMLEX 2”). On July 13, 2017, on his first attempt, Plaintiff
passed the Biomedical/Biomechanical Domain, but failed the Humanistic Domain.
On October 11, 2017, on his second attempt, he passed the Humanistic Domain but
failed the Biomedical/Biomechanical Domain. And on January 12, 2018, he failed
both Domains.

      17. The MSUCOM’s Class of 2018 Policy was deliberately changed to be
biased against him, as embodied in the booklet referenced above, and may be only
changed after being reviewed and noted on by the MSUCOM faculty at the
MSUCOM Spring Semester Faculty Assembly meeting. The policy change in
question was submitted for faculty review March 1, 2018. Plaintiff was dismissed

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on March 7, 2018. The Spring 2018 Faculty assembly meeting was held March 8,
2018.

       18. To demonstrate his seriousness of purpose after failing on part of the
first attempt, Mr. Assi purchased various study preparatory materials. After his
second attempt, he enrolled in a special course administered by the creators of the
test.

      19. Prior to March 1, 2018, one or more individuals working for Defendant
MSU decided to effectuate a change in the portion of the text of the "Policy for
Retention, Promotion, and Graduation," as referenced in paragraph 15. The
original text read as follows:

      11. Committee Responsibilities
      …
      b. COSE will decide which students' academic dismissals from
      MSUCOM, not involving unprofessional/unethical behavior, should
      be upheld (See Section 4e);
      …
      5. Appeal
      a. If academic dismissal is upheld/decided by COSE, a student shall
      be given an opportunity for an appeal of the COSE decision to the
      Dean or his/her designee. A request for an appeal must be filed with
      the Dean's office within seven calendar days after the student has
      been notified in writing of the COSE decision. The student must notify
      the Associate Dean/Student Services of appeal (emphasis added).

This amended text, originally proposed on March 1, 2018, and voted on March 8,
2018, issued via downloadable email to the Plaintiff in 2019, deleted the foregoing.
Further, the entire section titled "11. Committee Responsibilities," was deleted in
the 2019 Policy for Retention, Promotion and Graduation. Further, another section
titled "13. Chairperson Responsibilities" is completely absent from the 2019
policy. The original section is found in the 2018 policy. It outlines the
responsibilities of Defendants, including ensuring full compliance with the Policy
for Retention, Promotion, and Graduation:




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        "The COSE chairperson shall see that all Committee meetings and
        activities adhere to the guidelines established in the "Michigan State
        University College of Osteopathic Medicine Policy for Retention,
        Promotion and Graduation."
        …
Defendants collectively utilized an alleged incident of unprofessionalism that
did not result in any academic punishment (such as probation, suspension, etc.)
in order to see that Plaintiff was dismissed. In addition, a second document
titled, "Michigan State University College of Osteopathic Medicine Committee
on Student Evaluation (COSE) Responsibilities and Meeting Procedures" can no
longer be found. It explicitly states:

      Meeting Format:
      i. Introductory
              1. The Chair will review the meeting procedures and
              ask the student if:

                  a. There was any "procedural irregularity"
                  in the assignment of the course grade.

                  b. If the student was "treated differently
                  from other students in the course(s)."

            i. If the student answers yes, the meeting will not
            continue. The Chair will ask the student to meet with the
            College Medical Student Rights and Responsibility
            (MSRR) Representative for advice, guidance, and
            possible referral to the College Hearing Committee
            (CHC). The student and advocate(s), if any, will be
            excused from the meeting.
      20. The prior policy provided an appeal to the Dean and ruled out
unprofessional behavior claims during the hearing. The new policy deleted that
remedy.

      21. At all times material herein, MSUCOM, as an educational institution
chartered by the State of Michigan, acted under color of state law within the
system of colleges and universities of the State of Michigan as established under
the Constitution of 1963 and the Compiled Laws of Michigan.

     22. Plaintiff was dismissed from the School without sufficient time for
remediation and in violation of his constitutional and state law rights.
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       23. At this time, Plaintiff has spent approximately $350,000.00 for tuition
and on financial aid, as well as money for lodging and miscellaneous expenses.
Plaintiff seeks by way of this Complaint recoverable damages arising out of his
illegal dismissal, consequential damages, and equitable relief.

      24. Defendant MSUCOM breached its obligations to Plaintiff, as heretofore
described, by violating the section in the MSUCOM handbook pertaining to
evaluation and dismissal of students in contravention of Plaintiff’s constitutional
due process rights. Defendant MSUCOM also engaged in unconstitutional conduct
as described further below.

      25. At this point, the Plaintiff has separately passed both components of the
standardized testing required prior to graduation and was at all times relevant a
fourth-year, second-semester medical student.

      26. Further, as a result of the COVID-19 pandemic, the administration of
COMLEX 2 has been suspended. Many seniors in medical school are being
allowed to graduate and move onto residency without taking the COMLEX 2.

   COUNT I-- 42 USC § 1983, 14TH AMENDMENT DENIAL OF EQUAL
                   PROTECTION OF THE LAWS
      27. Plaintiff brings this lawsuit for injunctive relief and damages, including
but not limited to reinstatement to the MSUCOM.

     28. Plaintiff is a member of a protected class, namely he is Lebanese-Arab
and Muslim.

      29. In Count I of this Complaint, the Plaintiff seeks injunctive,
declaratory, and other equitable relief against the Defendants under 42 USC § 1983
for denial of equal protection guaranteed by the Fourteenth Amendment of the
United States Constitution on account of his race/national origin and religion under
color of state law, including but not limited to court-ordered reinstatement, and an
award of attorney fees.

       30. Plaintiff is entitled to equal protection of law under the Fourteenth
Amendment of the United States Constitution, and was deprived of equal
protection of law rights, through the ultra vires conduct of the Defendants who
acted under the color of state law, with forethought, intent, and malice, designed to
deprive the Plaintiff of his equal protection of law rights. Plaintiff has no speedy or
adequate remedy at law, and for that reason, seeks declaratory and injunctive relief
in the form of reinstatement to the MSU College of Osteopathic Medicine.
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       31. After Plaintiff’s hearing on April 30, 2019, Defendant MSU provided
additional information in which two students were offered a fourth attempt at
taking the COMLEX Level 2PE. Both students were reinstated and approved for a
fourth attempt at taking the COMLEX 2PE and both of these students, upon
information and belief, were not part of the same protected class membership(s)
that Plaintiff belongs to. Plaintiff was therefore subject to differential treatment and
not allowed to be reinstated and approved for a fourth attempt at taking the
COMPLEX 2PE.

      32. By refusing to reinstate Plaintiff and afford him the opportunity to take
the COMLEX test a fourth time, as previously afforded other students, the
Defendant MSU, through its agents and employees, including but not limited to
those named as Defendants in this action, deprived Plaintiff of the equal protection
of law in violation of the Fourteenth Amendment of the United States Constitution.

     33. Defendants, by the actions and policies described herein, have unfairly,
unequally and unreasonably singled out Plaintiff because of his protected class
membership.

       34. For this reason, the actions and policies of Defendants, jointly and
severally, violated the Plaintiff's right to the equal protection of the laws, as
guaranteed and protected by the Fourteenth Amendment to the United States
Constitution. Defendants’ practices constitute differential treatment, were designed
to protect certain interests, and deny the protection of the laws to Plaintiff.

      35. As a direct and proximate result of the aforesaid acts and omissions of
the Defendants, Plaintiff was deprived of the equal protection of law on account of
his race and national origin, in violation of the Fourteenth Amendment of the
United States Constitution and 42 U.S.C. Sec. 1983 because other students who
were not of the same class membership as Plaintiff were allowed to take the
COMLEX test a fourth attempt and were reinstated, whereas Plaintiff was not.

      36. As a further direct and proximate result of the aforesaid unlawful acts
and omissions by the Defendant, Plaintiff has suffered economic loss, loss of
professional stature and career opportunities, anger, frustration, illness, public
humiliation, helplessness and insecurity.

        37. For a remedy of MSU's denial of equal protection of the law to Plaintiff,
Plaintiff is entitled to reinstatement, compensatory damages, other make-whole
relief, injunctive, declaratory and other equitable relief pursuant to 42 U.S.C. Sec.
1983, and reasonable attorney’s fees pursuant to 42 U.S.C. Sec. 1988.

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WHEREFORE, Plaintiff prays for the following relief:
      A. Compensation for loss of earnings that would have been
      generated had the Plaintiff been allowed to retake the tests.
      B. An order requiring Defendant to reinstate the Plaintiff to his
      prior position as a fourth-year medical student at MSUCOM.

      C. An award of punitive damages.
      D. An award of attorney's fees and costs; and
      E. For such other and further relief as the court deems appropriate and
      just to make him whole and bar the conduct from being repeated.

     COUNT II-- 42 USC § 1983, 14TH AMENDMENT DUE PROCESS
                            VIOLATION
      38. Plaintiff repeats and realleges the aforementioned paragraphs with the
same force and effect as though set forth in full herein.

      39. As a student at a public university, Plaintiff enjoyed a constitutionally
protected fundamental right and interest in continuing his medical school
education.

       40. Plaintiff’s reputation and his opportunity to pursue future employment
constitute a constitutionally protected liberty interest.

      41. Defendants’ dismissal of Plaintiff from Defendant MSU was arbitrary
and capricious and motivated by bad faith.

      42. Plaintiff was not afforded an unbiased, careful, and deliberate review
process either prior to or following his dismissal from Defendant MSU.

      43.    Plaintiff was denied a meaningful opportunity to clear his name.

       44. In depriving Plaintiff of his constitutionally protected rights, including
his fundamental right to and property interest in continuing his public university
education, and his liberty interest in reputation and opportunity to pursue future
employment, Defendants’ actions abridged his right to due process of law in
violation of the Fourteenth Amendment to the United States Constitution.

      45. Defendant MSU, the individually named Defendants, and other
agents, representatives, and employees of Defendant MSU, acting under color of
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state law and in concert with one another, by their conduct, showed intentional,
outrageous and reckless disregard for Plaintiff’s constitutional rights.

       46. The acts of the individual Defendants, and other agents,
representatives, and employees of Defendant MSU as described above represent
official policy of Defendant MSU and are attributable to Defendant MSU.

      47. At all times relevant, Plaintiff had a clearly established right to due
process of law of which a reasonable public official would have known about.

       48. Plaintiff was not provided any notice that the Class of 2018 policy
would be “revoked” and replaced, effective March 2018, until after Plaintiff had
received the denial by the COSE of his petition for reinstatement. In other words,
Plaintiff was dismissed under the Class of 2018 Policy, and he completed 2 of the
3 levels of appeal under the Class of 2018 Policy, but at the point when he
attempted to exercise the third level of appeal under the Class of 2018 Policy,
which had thereto been unquestionably applicable to his enrollment and the
dismissal and appeal process, Plaintiff was told that the Class of 2018 Policy was
no longer in effect, and that he had to proceed under a new, previously unknown
policy that eliminated a series of rights and which violated his constitutional due
process rights.

        49. Defendants also violated Plaintiff’s due process rights when they
adopted a new, non-class-specific Policy for Retention, Promotion, and Graduation
that is significantly different than the Class of 2018 Policy.

       50. The Plaintiff's dismissal and his meetings with MSUCOM officials
relating to his petitions for reinstatement each occurred while the original Class of
2018 Policy was in effect. Plaintiff was dismissed on March 7, 2018; voted on
March 8, 2018, shortly thereafter, the policy changes were made effective on
March 14, 2018. Consequently, the Class of 2018 Policy governed the terms of the
Plaintiff's enrollment, dismissal, and the processes utilized to handle his petitions
for reinstatement.

      51. Unbeknownst to the Plaintiff, the Medical School's Class of 2018
Policy was revoked and replaced effective mid-March, 2018.

       52. The Plaintiff was dismissed from MSUCOM on March 7, 2018 for
failing after three attempts to pass the COMLEX.



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       53. To fulfill his obligation to exhaust all administrative remedies, the
Plaintiff appeared before the COSE Clerkship Performance Subcommittee on April
13, 2018, but his dismissal was upheld.

      54. On May 10, 2018, Plaintiff met with the COSE Clerkship
Performance Committee, and on May 17, 2018, Plaintiff received notice that his
dismissal was being upheld.

      55. Plaintiff continued to follow up with the Defendants and attempt to
resolve his matter informally. However, on March 4, 2019, the Plaintiff submitted
his fourth-level grievance to MSUCOM College Hearing Committee of which
Bruce Wolf was the Chair, stating that he believed he was unfairly and arbitrarily
dismissed, requesting a hearing with the MSUCOM College Hearing Committee to
appeal the COSE decision, be granted reinstatement, and be allowed to take the
COMLEX exam a fourth time, as allowed under state law. This hearing was
ultimately held on April 30, 2019.

       56. Michigan law provides that applicants for D.O. licenses such as
Plaintiff are allowed no more than six (6) attempts to pass any part of the
COMLEX. See MCL 338.131(2).

      57. The College Hearing Committee decided to uphold the Plaintiff's
dismissal due to failing the COMLEX exam three times.

       58. During the hearing, the Plaintiff reiterated his belief that the alleged
issues of unprofessionalism and unethical behavior were not to be discussed during
the COSE meeting, according to the College rules and regulations. At the close of
proofs, the Plaintiff stated his belief and request that he be granted a fourth
opportunity to pass the COMLEX exam. Dr. John Meulendyk told Plaintiff that
99% of the time, he would be reinstated, with precedent to support the same.

      59. The Plaintiff requested reinstatement to MSUCOM to finish his
program, taking the COMLEX exam a fourth time, and progress to opening a clinic
in metro-Detroit in Internal Medicine or Radiology.

      60. During final questioning, the Plaintiff was asked to clarify his
accusation about the changed Policy for Retention, Promotion and Graduation, and
responded that this policy was revised one week after his dismissal from
MSUCOM, and that he believes the changes were intentionally made to apply to
him.

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      61. After the April 30, 2019 hearing, the College Hearing Committee
voted that he should be dismissed from the college, citing support in the Medical
Students Rights and responsibilities policy.

     62. Consequently, effective May 9, 2019, the Plaintiff's dismissal from
the MSUCOM was upheld.

      63. Section 11.b of the Class of 2018 Policy makes clear that the COSE is
not to decide issues involving alleged unprofessional or unethical behavior. Yet,
during the Plaintiff's meeting with the COSE to discuss his appeal, the COSE
members repeatedly brought up the lone incident with the attending physician from
one of the Plaintiff's clerkships nine months previously, for which the Plaintiff had
been given a mild admonishment, and no academic probation by the COSE.

      64. The COSE explored in great detail a topic that: (1) had nothing to do
with the purported reason for the Plaintiff's dismissal (i.e., the Level 2-PE exam
scores), and (2) was not a subject that the COSE was authorized to address, in this
or any other context. In addition, COSE either ignored the extensive and extremely
consistent positive evaluations regarding Plaintiff’s performance, professionalism
and interpersonal skills or did not make itself aware of the extensive positive
performance reviews.

       65. It is clear from a COSE denial letter dated May 17, 2018, that the
incident alluded to paragraph 43 above. The COSE's conduct in peppering the
Plaintiff with questions regarding this incident with the attending physician, and
then using that incident to justify the denial, was directly contrary to the policy set
forth above and in violation of Plaintiff’s constitutional due process rights.

       66. As a result of Defendants’ breach of due process rights, Plaintiff has
suffered extensive financial damages, including, but not limited to, loss of potential
future wages, the inability to pursue his professional medical interest, and other
non-economic damages.

WHEREFORE, Plaintiff prays for the following relief:
      A. Compensation for loss of earnings that would have been
      generated had the Plaintiff been allowed to retake the tests.
      B. An order requiring Defendant to reinstate the Plaintiff to his prior
      position as a fourth-year medical student at MSUCOM.

      C. An award of punitive damages.

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     D. An award of attorney's fees and costs; and
     E. For such other and further relief as the court deems appropriate and
     just to make him whole and bar the conduct from being repeated.

                                             Respectfully submitted,


Dated: July 22, 2020
                                             /s/Ahmad Chehab
                                             Ahmad Chehab, Attorney for Plaintiff




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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN

MOSTAFA ASSI,                                       Case No. 1:20-cv-674

      Plaintiff,                                    Hon.

v.

MICHIGAN STATE UNIVERSITY,
THE BOARD OF TRUSTEES OF MICHIGAN
STATE UNIVERSITY, ANDREA AMALFITANO,
ELIZABETH PETSCHE, JACOB ROWAN,
SUSAN ENRIGHT, and BRUCE WOLF, jointly
and severally,

      Defendants.
___________________________________________________
AHMAD A. CHEHAB (P75560)
Attorney for Plaintiff
31440 Northwestern Hwy., Suite 110
Farmington Hills, MI 48334
Ph: 313.335.1539
E-mail: achehab@collinsblaha.com
___________________________________________________

                        PLAINTIFF’S JURY DEMAND

      Plaintiff hereby demands a trial by jury on all issues so triable pursuant to
Rule 38 of the Federal Rules of Civil Procedure.


                                             Respectfully submitted,
                                             /s/Ahmad Chehab
Dated: July 22, 2020                         Ahmad Chehab, Attorney for Plaintiff




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